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or conspiracy with others named and unnamed, operated to deprive Plaintiff of her rights
under the Constitution and the Laws of the United States:

(a) Not to be arrested, indicted, prosecuted, detained, convicted, or
imprisoned based upon false, fabricated, manufactured, misleading, or
inherently unreliable "evidence," including the statements and
testimony of witnesses who have been improperly influenced, coerced,
or manipulated to provide such statements and testimony, in violation
of the Due Process and Fair Trial Clauses of the Fifth, Sixth and
Fourteenth Amendments to the United States Constitution;

(b) Not to be deprived of her liberty absent probable cause to believe
she has committed a crime, in violation of her rights under the Fourth
and Fourteenth Amendments to the United States Constitution; and
(c) To timely disclosure of all material evidence favorable to the
defense pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v.
United States, 405 U.S. 150 (1972), and their progeny, and the Due
Process and Fair Trial Clauses of the Fifth, Sixth, and Fourteenth
Amendments to the United States Constitution.
The foregoing violations of Plaintiffs federal constitutional rights by the Defendants and their co-
conspirators and accomplices, known and unknown, directly, substantially, proximately, and
foreseeably caused the initiation and continuation of Plaintiffs criminal prosecution, her loss of
liberty and detention, her wrongful conviction for disorderly conduct, her subsequent
imprisonment, her restriction of movement and freedoms as specified in the order of protection
the court ordered against her in the name of her batterer, Raheem Powell, her to be placed on a
NYPD ‘no services’ list and her other injuries and damages. The foregoing violations of
Plaintiffs rights amounted to Constitutional torts and were affected by actions taken under color

of State law, and within the scope of the Defendants' employment and authority. Defendants

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committed the foregoing violations of Plaintiffs rights knowingly, intentionally, willfully,
recklessly, and/or with deliberate indifference to Plaintiffs constitutional rights or to the effect of
such misconduct upon Plaintiff's constitutional rights. 413. By reason of the foregoing, the
Defendants are liable to Plaintiff, pursuant to 42 U.S.C. § 1983, for compensatory and for

punitive damages.

120. SEVENTH CAUSE OF ACTION (42 U.S.C. §1983; Denial Of Due Process Under
the Fifth, Sixth and Fourteenth Amendments; Malicious Prosecution, Abuse of
Process, and Deprivation of Liberty Under the Fourth, Fifth, Sixth, and Fourteenth
Amendments; Defendants: Plaintiff repeats and realleges each and every allegation
contained in contained in 1 through 121 of this complaint as if fully set forth herein
Knowing that any colorable cause to continue the prosecution had evaporated, Wells, in the
capacity of an investigator or "witness," acted in concert and conspired with Strohbehn,
Wells, Moore, and others, named and unnamed, to use any means, no matter how unlawful
or coercive, to intimidate them into falsely accusing Plaintiff of the charged crimes. These
illegal and unconstitutional means included, but were not limited to,

(a) Abusing judicial process by misusing the court's subpoena power to
compel witnesses to appear at Court and the Das office;

(b) Abusing judicial process by deceiving the court into issuing “orders of
protection" restricting Plaintiff's libeties and freedom by: Personally
attesting to "facts" which they knew were untrue in order to deceive
the court into issue orders authorizing them to take custody of such
plaintiff;

These lawless actions foreseeably caused the aforementioned witnesses to manufacture false
evidence which Strohbehn and Simmons then used to continue Plaintiffs malicious

prosecution, without probable cause, and for Wells to bring about her false conviction at trial.

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The foregoing violations of Plaintiffs federal constitutional rights by the Defendants, together
with their co-conspirators and accomplices, known and unknown, directly, substantially,
proximately, and foreseeably caused the continuation of Plaintiffs malicious prosecution
without probable cause, her wrongful imprisonment, and her other injuries and damages. The
foregoing violations of Plaintiffs rights amounted to Constitutional torts and were affected by
actions taken under color of State law, and within the scope of the Defendants' employment
and authority. Defendants committed the foregoing violations of Plaintiffs rights knowingly,
intentionally, willfully, recklessly, negligently, and/or with deliberate indifference to
Plaintiffs constitutional rights or to the effect of such misconduct upon Plaintiffs
constitutional rights. By reason of the foregoing, the Defendants are liable to Plaintiff,

pursuant to 42 U.S.C. § 1983, for compensatory and for punitive damages.

121. EIGHTH CAUSE OF ACTION (Monell/42 U.S.C. § 1983: Claim Against Defendant
City of New York For The Actions Of The NYPD) Plaintiff repeats and re-alleges each
and every allegation contained in contained in {1 through 121 as if fully set forth herein.
The foregoing violations of Plaintiffs federal constitutional rights and injuries were further
directly, foreseeably, proximately, and substantially caused by conduct, chargeable to
Defendant City, amounting to deliberate indifference to the constitutional rights of persons,
including Plaintiff, who are investigated, arrested, or prosecuted for alleged criminal
activities. Prior to Plaintiffs arrest, policymaking officials at the NYPD, with deliberate
indifference to the constitutional rights of individuals suspected or accused of criminal
activity, to the risk of arresting, prosecuting and convicting innocent people, and to the right
of all criminal suspects and defendants to due process and a fair trial, implemented plainly
inadequate policies, procedures, regulations, practices, customs, training, supervision, and
discipline concerning:

(a) The use of excessive promises of rewards with witnesses, including

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drug dealers and and/or individuals fearing prosecution and
imprisonment for their own criminal behavior;
(b) The determination of probable cause to make an arrest; and
(c) The continuing duty of police investigators to preserve and to make
timely disclosure to the District Attorney, during criminal
investigations and prosecutions, of all material evidence or information
("Brady material") favorable to a person suspected, accused or
convicted of criminal conduct, including, but not limited to, evidence
of innocence, evidence that an identifying or prosecution witness is
unreliable or lacks general credibility, evidence that a prosecution
witness has made inconsistent statements about material facts, and
evidence that a prosecution witnesses has a motive, bias or interest
affecting his credibility or has been pressured or coerced, so that the
District Attorney could comply with his constitutional obligation to
disclose such information to the defense under Brady.
With respect to "a" and "c" in the preceding paragraph, prior to Plaintiffs arrest and the initiation
of her prosecution the NYPD or the MDAO provided no training at all in regards to how a DV
complaintant should be evaluated or the efficacy of their complaints as victims should they be
suspected of fabricating their injuries. What further review other than the cursory nods by
individuals who had not investigated the facts is needed to brandish such a title on a crime
victim/complaintant? What review exists to ensure an investigation is in fact undertaken? What
checks and balances are in place to ensure innocent victims are not falsely branded “fabricators”
enabeling their abusers to use the criminal justice system against them to control their lives and
alter the freedoms and liberties most citizens enjoy? To imprison them and cause them public
shame, emotional distress, loss of income and loss of private and professional standing? The

aforesaid deliberate or de facto policies, procedures, regulations, practices and/or customs

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(including the failure to properly instruct, train, supervise and/or disciplineemployees with regard

thereto) were implemented or tolerated by policymaking officials for the Defendant City of New

York, including but not limited to, the New York City Police Commissioner, who knew (or

should have known):

a)

b)

7)

to a moral certainty that such policies, procedures,
regulations, practices and/or customs concern issues that
regularly arise in the investigation and prosecution of
criminal cases;

that such issues either present police employees with
difficult choices of the sort that instruction, training
and/or supervision will make less difficult or that the
need for further instruction, training, supervision and/or
discipline was demonstrated by a history of police
employees mishandling such situations as well as the
incentives that police employees have to make the wrong
choice; and

that the wrong choice by such employees concerning
such issues will frequently cause the deprivation of the
constitutional rights of criminal suspects or defendants

and cause them constitutional injury.

The aforementioned policymaking officials had the knowledge and the notice alleged in

the preceding paragraph based upon, among other circumstances: Plaintiff has obtained

amicus briefs and affidavit testimony from present and former Domestic Violence

advocacy groups, establishing, prior to and during the time period of Plaintiffs arrest and

prosecution, the NYPD and MDAO provided no training concerning appropriate

interrogation of Domestic Violence complaintents suspected of being fabricators. formal

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reports of the N.Y.C. Comptroller's Office and the Bar Association of the City of New
York criticizing the NYPD and the N.Y.C. Law Department for failing to follow up
substantial civil settlements for police misconduct with disciplinary or other remedial
action; and the inherent obviousness of the need to train, supervise and discipline police
officers in such obligations to counteract the pressure on officers and the powerful
incentives they have to close cases and to obtain arrests and convictions. Under the
principles of municipal liability for federal civil rights violations, the City's Police
Commissioner (or his authorized delegates), has final responsibility for training,
instructing, supervising, and disciplining police personnel with respect to the
investigation and prosecution of criminal matters, including constitutional requirements
governing the interrogation of witnesses, the initiation of criminal prosecutions, and the
disclosure of Brady material. The Police Commissioner, personally and/or through his
authorized delegates, at all relevant times had final authority, and constitutes a City
policymaker for whom the City is liable, with respect to compliance by NYPD employees

with the above-mentioned constitutional requirements.

122. During all times material to this Complaint, the Police Commissioner owed a duty to the
public at large and to Plaintiff, which he knowingly and intentionally breached, or to which
he was deliberately indifferent, to implement policies, procedures, customs, practices,
training and discipline sufficient to prevent or deter conduct by his subordinates violating
the aforementioned constitutional rights of criminal suspects or defendants and of other
members of the public. The aforesaid policies, procedures, regulations, practices and/or
customs of Defendant City and the NYPD were collectively and individually a substantial
factor in bringing about the aforesaid violations by the Individual Police Defendants of
Plaintiffs rights under the Constitution and laws of the United States. By virtue of the

foregoing, Defendant City of New York is liable for having substantially caused the

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foregoing violations of Plaintiffs constitutional rights and her constitutional injuries.

123. NINTH CAUSE OF ACTION (Monell/42 U.S.C. § 1983 Claim Against Defendant
City Of New York For Actions Of The MDAO) Plaintiff repeats and realleges each and
every allegation contained in contained in {1 through 4121 of this complaint as if fully set
forth herein. At the time of Plaintiffs original prosecution, and continuing, District Attorney
Cyrus Vance Jr, as the manager and chief administrator ofthe MDAO, a City agency,
maintained a policy, custom and/or practice of deliberate indifference to violations by his
employees of the constitutional rights of individuals who made complaints as victims of
domestic violence whose batterers held information critical to other investigations and
criminally prosecuted in New York County, including, but not limited to, abuse of process,
manufacturing of false evidence and testimony through improper coercion of witnesses,
Brady violations, reliance on false or misleading evidence and argument at trial ("the
policy"), and covering up the same. The policy permits, encourages, or acquiesces in the
commission of, constitutional violations of the rights of suspects and defendants by
prosecutors, detective-investigators, and NYPD detectives working with the D.A. 's Office,
particularly in high profile or serious cases where arrest and conviction is most desired by
the Office. The policy led directly to the violations of Plaintiffs constitutional rights, and the
subsequent cover-up of police and prosecutors' wrongdoing, which greatly prolonged
Plaintiffs wrongful imprisonment, seizure and other damages. Vance had no employee
handbook, manual, or other document setting forth any process for evaluating “fabricators”.
Defendent CITY is liable for having substantially caused the foregoing violations of

Plaintiffs constitutional rights and his resultant injuries.

124. TENTH CAUSE OF ACTION (Negligent Hiring, Training and Supervision Under

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State Law; Defendant City of New York) Plaintiff repeats and realleges each and every
allegation contained contained in 1 through 121 of this Complaint. By virtue of the
foregoing, defendant City of New York is liable to plaintiff because of its intentional,
deliberately indifferent, careless, reckless, and/or negligent failure to adequately hire, train,
supervise, and discipline its agents, servants and/or employees employed by the MDAO and

or the NYPD with regard to their aforementioned duties.

125. 11" Cause of Action: 42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth
and Fourteenth Amendments; Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendants:
the NYPD and the MDAO, as a matter of policy, stripped Miss Plaintiff of her First

Amendment Rights to to petition the Government for redress of grievances:

126. 12 Cause of Action: 42 U.S.C. §1983; Unreasonable Search & Seizure Under the
XXX and X Amendments; *Abuse of Process, and Deprivation of Liberty Under the
Fourth, Fifth, Sixth, and Fourteenth Amendments*; Defendants: knowingly kept her
under unreasonable seizure for an elongated period of time during her false arrest and
drawn-out prosecution lasting approximately two years (during which the seizure continued)

denying her of her Fourth Amendment right against unreasonable searches and seizures.

127. 13° Cause of Action: 42 U.S.C. §1983; Excessive & Unusual Punishment Under the
Eighth Amendment; *Abuse of Process, and Deprivation of Liberty Under the XXX
and XX Amendments*; Defendants: eschewed Plaintiff her Eighth Amendment rights by

denying her police services asserting excessive and unusual punishment

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128. 14 Cause of Action: 42 U.S.C. §1983; Right to a Speedy Trial Under the XXX
Amendment; *Abuse of Process, and Deprivation of Liberty Under the XXX and XX
Amendments*; Defendants: deprived Plaintiff her Sixth Amendment rights to enjoy the

right to a speedy trial,

129. 15" Cause of Action: 42 U.S.C. §1983; Deprivations of life, liberty or property without
due process of the law; Under the 14 Amedment *Abuse of Process, and Deprivation
of Liberty Under the XXX and XX Amendments*; Defendants: Denied Plaintiff her
Fourteenth Amendment rights to not be deprived of life, liberty or property without due

process of the law:

130. 16°" Cause of Action: 42 U.S.C. §1983; Right to Equal Protection Under the Law
Under the 16th Amendment; *Abuse of Process, and Deprivation of Liberty Under the
XXX and XX Amendments*; Defendants: as well as her Sixteenth Amendment right to

equal protection under the law.

131. 17 Cause of Action: 42 U.S.C. §1983; Right to Not be Wrongfully Confined Under
the XXth Amendment; *Abuse of Process, and Deprivation of Liberty Under the XXX
and XX Amendments*; Defendants: Wrongful Confinement: Plaintiff was held for
between eight to ten days at Rikers Island and in the tombs at 100 Centre street.

132. 18 Cause of Action: Abuse of Process: Defendants used the court system to further
Plaintiff's misery in an attempt to force her to take a plea to cover-up their wrong-doing and
to win a bogus conviction on a disorderly conduct charge brought falsely, ill-investigated,

maliciously, and with intent to shield evidence from the court.

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133. 19 Cause of Action. Defamation/Injurious Falsehood: Defendants continued to make
false statements about Plaintiff on the court record and off as well as concerning other court

matters and when speaking with Domestic Violence advocates representing Plaintiff.

134. DAMAGES
WHEREFORE, Plaintiff seeks compensatory damages in the amount of $30,000,000 together
with attorney fees and court costs for defamation, loss of work, emotional pain and suffering.
Plaintiff also seeks POLICY CHANGE for the way that Domestic Violence Survivors are treated
within the criminal justice system when they come forward for help in extracting themselves from
life-threatening intimate partner situations. A methodology and better training needs to be
implemented for identifying true victims that is not subject to the whimsy of one lone
prosecutor’s bias(es). When a victim is thought to be a ‘fabricator’ a review of his/her case need
to be examined by Domestic Violence advocates, therapists, social workers, and psychiatrists
before they are denied protections, police services, social welfare services, a normal quality of
life free from harm, and their ability to petition the government for redress of grievances.
Recently, the Manhattan District Attorney Cyrus Vance has stated that his offices reviews 5,000
case of Domestic Violence a year. How many of these cases are labeled ‘fabrications’ by
prosecutors with other motives or whom are too burdened by their case-loads and lack the
acumen or incentive to make the right call? Plaintiff seeks transparency and public dialogue in
order to ensure other victims don’t slip through the cracks allowing their batterers to be
emboldened to harm others and the victim to slip into emotional, psychological, social, physical

and economic dire straights.
135. Plaintiff used to operate at very high-level as one of the most respected young
photojournalism editors running war correspondents in and out of conflict zones (Exhibit

#16). She is a graduate of Mount Holyoke College and attended the University of Colorado

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where she worked on her Master’s degree: she won many academic awards and scholarships
and endeavored to have a bright future ahead of her. Plaintiff ran the world's top
photojournalists in and out of war zones and covered top stories on all fronts for over the
past decade. (Exhibit # 16 list of some of Price’s journalistic accomplishments.) She had
achieved a high level of respect and admiration based on trust and love and solid, steady,
cool-headed work, Now her life is literally in tatters. Credibility is key to the journalistic
community and the pallor of criminality still follows her as a result of the malicious arrests
and prosecutions. The emotional pain and suffering from these events has debilitating effects
on Plaintiff who has literally lost everything she worked for: her personal identity, her
career, her familial and social support networks, her unborn child, her apartment, her
belongings, had her car repossessed, lost a pet because she did not have funds for vet bills,
been ostracized from every thing and everyone that meant anything to her. She was at one
time trusted and loved until her world fell apart because of these prosecutions by the people
she turned to for help at her darkest, most helpless hour. Plaintiff more than anything wants
her name back and wishes to continue to do the good work she was producing. She struggled
to build a beautiful life for herself. Now she is trying to put the pieces of her life together but

her troubles seem to compound as time slips by.

136. Plaintiff has been diagnosed with Complex Post-Traumatic-Stress-Disorder by
Psychiatrists and therapists at the St. Luke’s Roosevelt Hospital’s Crime Victims Center
where she has been in intensive Domestic Violence therapies and programs since 201 1 and
by the Psychiatric staff at Bellevue Hospital’s 9/11 Survivors’ Health Care Program. She
suffers severe depression, bouts of racing thoughts, nausea, temperature swings,
disassociation, mood-swings, sleeplessness, despair, weight fluctuations, digestive disorders

and headaches.

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137. DAMAGES DEMAND WHEREFORE, Plaintiff demands judgment against the

Defendants as follows:

For compensatory damages of not less than $30 million;

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For punitive damages against the individual Defendants of$10 million;

c. For reasonable attorneys’ fees, together with costs and disbursements,

d. pursuant to 42 U.S.C. §1988 and to the inherent powers of this Court;

For pre-judgment interest as allowed by law; and For such other and further relief as

this Court may deem just and proper.

138. The Manhattan District Attorney, Mr. Cyrus Vance, Jr., quoted Berger v S, 295 U.S. 78,
88 (1935) in his Recommendation for Dismissal of charges against DSK:“Along with the
substantial power conferred upon prosecutors come unique responsibilities. Rather than
serving only as a zealous advocate on behalf of a client, prosecutors have a broader set of

obligations to the community, the victim, and the defendant:

“The [prosecutor] is the representative not of an ordinary party to a controversy, but of a
sovereignty whose obligation to govern impartially is a complaint as its obligation to
govern at all; and whose interest, therefore, in a criminal prosecution is not that it shall
win a case, but thatjustice shall be done. As such, he is in a peculiar and very definite
sense the servant of the law, the twofold aim of which is that guilt shall not escape or

innocence suffer.”

How much longer must Ms. Price suffer?

Kelly Price Sworn to me 24" day of July, 2015

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‘July 24, 2015

 

 

 

JOSEPH R DANIELS
Notary Public, State of New York

No. 02DA6213768
Qualified in Kings County
Commission Expires January 04, 20145

 

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Fri, 22 Apr 11 1450 Page 6 of 8
Chart Review Print
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex

JLS-Hd6 Price, Cathleen 1674607 1674607-4 40¥ Fr

 

Attending Physician
Meletiche,Carlos M, MD

 

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ED Chest Pai:
Diagnosis

Resulted by : Mecoy,Nakita, RN (ESOF)
Ordering MD :  (ESOF)
Case 1:15-cv-05871-KPF

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Fri, 22 Apr 11 1450

Chart

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Review Print

Metropolitan Hospital Center

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MDDispNote DellaFavaA
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Patient Number Visit Number Age Sex
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Attending Physician
Meletiche,Carlos M, MD

Status: complete

Albert David Della Fava, MD

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P : 127/77
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igit Provider - Albert David Della Fava, MD
ttending : Carlos M Meletiche, MD
‘Lsposition ; treated & released
‘communication . Direct Communication in Patients's Primary Requested
Language
‘inal Primary Dx : Assault by other specified means
‘linic Referral : Surgery - 780
‘aturn to Clinic : 10 days for suture removal
lote : 39 yo with no PMHx presents after being assaulted.

She states she was thrown through a large fish tank in

her apartment
complaints of
complaints.

breathing or

where she was held down and choked. She
laceration to her buttocks. No other
No sob, no chest pain, no difficulty
dwallowing, no drooling. VS are WNT,

patient is erying at first but is comfortable by the

end of exam.
bruising, no

She has a left infraorbital abrasion and
boney tenderness, eomi, her throat has

gome erythema laterally on both left and right, no
wheezing noted, no drooling, no muffled or change in

voice, there
left buttock

is a 5 em superficial laceration to the
and 3 1.5em deeper, irregular edged

lacerations to the right hip which necessitated

sutures. No

neurovascular compromise. Patient was

given T#3 for pain, keflex for wound infection

prophylaxis,

and a general surg consult. She was

advised to see surg or return to ER for suture removal

in 10 days.

She was advised to return to ER sooner
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Fri, 22 Apr 11 1450 Page 3 of 8

Chart Review Print

Metropolitan Hospital Center

 

 

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674G607-4 40¥ F
Attending Physician
Meletiche, Carlos M, MD
ED Adult RN Initial Note -- cont'd

Braden Scale : Score: 22 Scale: no risk Sensory Perception: responds to
verbal commands,has no sensory deficits Moisture: skin
is usually dry Activity: walks Frequently during
waking hours Mobility: makes position changes without
assistance Nutrition: eats over half most meals or on
tube feeding or TPN reqimen which probably meets most
of nutritional needs Friction/Shear: moves in bed and
in chair independently.

 

Skin Lesions?: yes
Lesion Detail: Lesions: laceration, hematoma Location: right posterior
thigh, facial
Lesions: laceration Location: right thigh, left buttocks,

face
Photo : net applicable
Problem List:
Diagnosis
Working Diag:
Resulted by : Lopez,Michelle, RN  (ESOF)

Ordering MD : (ESOF)
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Multiple Trauma -18

CLINICAL IMPRESSION

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Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 19 of 52

L llat XH

 

Fri,.22 Apr 11 1450 Page 4 of 8
Chart Review Print
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex

DIS-Hd6 Price, Cathleen 1674607 1674607-4 A0Y FF
Attending Physician
Meletiche,Carlos M, MD

MDInitNote DellaFPavaA
Event Time: Thu, 11 Nov 10 0336 Status: complete

Thu, 11 Nov 10 0606 Documented by Carlos M Meletiche, MD
T 97.9 F (36.6 C}

Pp 84 bpm

BP : 127/77

R ; 18

Pain : yes

Pt. Walked Out? no

Time Pt Seen t
Visit Provider

Attending :
Communication :

Chief Complaints :
TB/Pneumonia

Assessment

Plan

Diagnosis

E&M Level
Non-Critical Vst :
Attend'g Addendum:
DAWN? 3
Comment ;

Diagnosis ;

Principal Pr: E968.8

L1iINov2010 0326

Albert David Della Fava,

Carlos M Meletiche, MD

Direct Communication in Patients's Primary Requested

Language

assault Sustain 3 laceration to Rt posterolat thigh and

facial hematoma

Fever: no Cough: no Night Sweats: no Weight Loss:
Shortness of Breath: no

ve wnl, mild distress however patient calmed during exam,

no respiratory distress or SOB, abrasion/bruise to right

infraorbit, no orbital tenderness EOMI, erythema to

lateral neck and throat, 5 cm laceration to left buttock,

31.5 em lacerations to right hip, no boney deformates or

joint complaints

clinical work up as ordered

Assault by other specified means

non critical visit

99283 expanded problem focused hx, exam and mod complex MDM

Gen Supv

no

See paper chart

MD

no

BE968.8 Assault by other specified means

Assault by other specified means
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 20 of 52

exxWlat Ok Py H

Fri, 22 Apr ii 1450 Page 5 of 8
Chart Review Print
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40Y¥ F

 

 

Attending Physician

Meletiche, Carlos M, MD

PHM/PSHx/Pam:
Diagnosis gi
Working Diag:

Resulted by : Meletiche,Carios M, MD (ESOF)
Ordering MD : (ESOF)

ED RN Disposition Assessment
fvent Time: Thu, 11 Nov 10 0554 Status: complete

thu, 11 Nov 10 0558 Documented by Nakita Mccoy, RN

discharge Disposition: treated & released

jJome Care Discharge : no

Diagnosis : Assault by other specified means

Vital Signs : SBP:: 121 mmHg DBP:: 64 mmHg P: 76 bpm R: 17 iT:
97.8 F (36.6 €) Temp Route: oral 02
Saturation: 99 % Comments: ROOM AIR

Barriers to Learning : none

De Plan : MEDICATION AS PRESCRIBED. FOLLOW UP IN CLINIC AS

DIRECTED. RETURN TO ER FOR ANY NEW OR WORSENING
CONCERNS. NAD NOTED.

Valuables/Clothing : patient kept at own risk

comment : PT OUT WITH STEADY GAIT. RESP EVEN/UNLABORED, NO
DISTRESS NOTED. PT VERBALIZED UNDERSTANDING OF INSTR
PROVIDED BY DELLFAVA, MD

Medication Order (5s) : Adacel (Tdap 11-64y) (Tetanus Toxoid, Reduced |
Diphtheria Toxoid & Acellular Pertussis Vaccine
Adsorbed)}

Medication Effect (s) » no adverse effects for all new medications

Diagnosis :
Working Diag: E968.8 Assault by other specified means
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 21 of 52

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Metropdlitan Hospital Center . lof 49. /
Department of Kimergency Medicine =) -  . Pee 3
190! First Avenue 2 ; Chal Z
New York, NY 10029 ee
212-423-6466 ETS 2 haw
et te 9 TR Cantey  Fece
’ rt ob se ¢ Paticnt Name.
; ~ eS fartington piote
Discharge Instructions for: fh bfear
(condition)

The emergency examination and treatrnent you received today js not injended to provide you with a complete medical workup. You
should follow-up with a phystelan for further evaluation and treatment, Ifyou have any questions or concerns regarding your emergsnvy
department treatment, please return to the Emergency Department, Notify your own physician for any new or remaining problems, If

you are concerted about those problems, please retura to this or any other Emergency Departinent. Otherwise, follow these instructions
below.

The resulls of x-rays, ultrasounds, blood tests anit EKGs are preliminary at this time. They will be reviewed by a spectulist, usually
within 24 hours. Should it be necessary, you will be contacted. Notify your primary care physician if you had such tests done during
your emergency visit.

Please make sure that you hive notified the physicians and muses of all of your past medical and surgical history as well as any
medications (including over-the-counter and hei bal preparations) thet you are curtenily taking, :

Returt to the Emergency Department, or any other emergency Department, for any current or new problem that you think may be &
s¢rious tlyeat to your health, These problems vary depending on your underlying condition, but include such problems as high fever,
severo pain, shortness of breath, persistent vomiting, excessive diarsea, heavy bleeding, black stools, selzure/convulsion or change jn
behavior. Ask your numse or doctor to inform you of any problems that may be more specific to your visit loday,

Continue taking any previously preseribed medications, in addition to any new ones from today, unless athenvise informed, Please make
sure that you have informed us today ofall of your medications and alfurgies to medications/ foods, including any recently changed by
any other ductor,

Medications: Toeteet W? 2 Tass tha Pur Cuter if eee besrte. ins
Ripe SOA 9 tee ere Srgiey 6 tite fn? anys

 

Please pick up or ask for any printed educational materials that we may have specific to your probable condition.

Make an appointment to:
11 fallow up with your primary care provider within ——- days, Ifyou dent havea primary care provider, you can call our clinic
appointment center at 212-423-7000 for an appoinunent to the _clinie. Inform them that you need to be seen within
this number of days.

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ou, SAellow up in JiR ___clinie within 4 @ days €(212-423-7000.)
AX Tallow upin cA. _ clinic Within JG _ days at 212-423-7000,

Addit ns sens \ Sone Acie 77 bt. Faw Mb. Cont tet Peserhgach we.
Ss. _

 

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‘These instructions have been explalived to me and t Say understand. | also certify that my address and or phone number / emergency

conlgct information provided is accurate, 9 =
A AZ a Lae Hille _ 54
nt

“Patten Signature Phone # PAT MD Signature V Signature Date Time

White copy: Clust Yellaw copy: Waticnt MEIC0S2- 5/06

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Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 22 of 52

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Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 23 of 52

10/08/2013

Adam Gargani
To Whom It May Concern:

This reviews a phone conversation | had with the New York City’s District
Attorney’s Office.

On February 2 of 2011 | received a voicemail message from Maria Strohbhen
stating she was from the District Attorney’s Office and was calling as part of a
matter she was handling with one of my tenants, and requested a return call,
which | did.

The matter involved Kelly Price who was my tenant at that time at 237 West
y20th Street, #1 New York, NY 10027 from July of 2007 to August of 2013.

Miss Strohbhen had several questions to ask me concerning events that had
taken place at the building. Specifically these involved incidents where the police
had been called and other events that involved altercations between Ms. Price
and a man.

Miss Strohbhen asked me about my knowledge of these events. In both the
structure of the questions and the inflection with which these were asked, it was
apparent that the purpose was to question whether these events happened, and
as it was directly communicated, to question whether Ms. Price had been telling
the truth, which she posed was not the case.

| informed Miss Strohbhen that | was aware of issues taking place by reports
from my other tenants as well as conversations with Ms. Price. | told Miss
Strohbhen that although | did not have any direct knowledge of what took place
since | did not live at the building, and was not present when they occurred, | also
had no reason to question the veracity of either the reports from my other tenants
or Ms. Price.

| would characterize the reaction of Miss Strohbhen to my responses as
frustrated or annoyed.

She indicated that she was dealing with Ms. Price and was looking to assemble
information that refuted claims that Ms. Price had made. She suggested that Ms.
Price had been making false statements. | told Miss Strohbhen that | although |
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 24 of 52

could not comment on any specific event on the basis of other than what | had
been told, that in my dealings with Ms. Price as a tenant in general | had no
reason to presume that her claims, or the reports of my other tenants, were less
than the truth.

The names of other tenants or neighbors were not requested.
Miss Strohbhen gave me the impression she was less than satisfied with the

outcome of her call and ended it abruptly.

Sincerely,

Adam Gargani
Landlord and Owner of 237 West 420!" Street, NY NY 10027

EVergreen 9- Corporation
267 Carleton Avenue
Suite 202

Central Islip, NY 11722

347 237 0100

8 October 2013
“THE PEOPLE OF THE STATE OF NEW YORK |

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| BS “kplntay A Pay |
CRIMINAL COUR OF THE CITY OF NEW YORIX
COUNTY OF NEW YORK

Page | of 4

 

FAMILY OFFENSE
DEFENDANT/VICTIM
RELATIONSEDP:

1. Kelly Price (F 40) en : INTIMATE/ACCESS
20840

~against-

 

on MISDEMEANOR
etendant. | ADA WELLS
212-335-4032

Raheem Powell, of an address known to the District Attorney's Office, states as
follows:

At the times and places described below in the County and State of New York, the
defendant committed the offenses of:

1. PL240.30@) Aggravated Harassment in the Second Degree
(109 counts)

2 PL240.30(1)(a) Aggravated Harassment in the Second Degree
(109 counts)

3. PL240.30(01)(b) Aggravated Harassment in the Second Degree
(109 counts)

4. PL240.26(3) Harassment in the Second Degree

(1 count)

the defendant, with intent to harass, annoy, threaten and alarm another person, made a
telephone call with no purpose of legitimate communication; the defendant, with intent to
harass, annoy, threaten and alarin another person, communicated with a person,
anonymously and otherwise, by telephone, by telegraph, and by mail, and by transmitting
and delivering any other form of written communication, in a manner likely to cause
annoyance and alarm; the defendant, with intent to harass, annoy, threaten and alarm
another person, caused a communication to be initiated by mechanical and electronic
means and otherwise with a person, anonymously and otherwise, by telephone, by
telegraph, and by mail, and by transmitting and delivering any other form of written
communication, in a manner likely to cause annoyance and alarm; and the defendant,
with intent to harass, annoy and alarm another, engaged in a course of conduct which
alarmed and seriously annoyed another person and which served no legitimate purpose.

The offenses were committed under the following circumstances:

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CRIMINAL COURT OF THE CITY OF NEW YORK tA\W 4 i i

COUNTY OF NEW YORI

gg Page 2 of 4
THE PEOPLE OF THE STATE OF NEW YORK — | FAMILY OPTPENSE
-against- DEFENDANT/VICTIM
RELATIONSHIP:
1. Kelly Price (F 40) ea INTIMATE/ACCESS
MISDEMEANOR

Defendant. | ja WELLS
719-335-4032

Deponent states that on January 27, 2011, from about 23:36 hours until about
23:54 hours, at 315 West 116 Street, deponent received three (3) text messages from
defendant, and deponent recognized the phone number of said text messages to be the
defendant's phone number.

Deponent further states that on January 28, 2011, at about 00:49 hours, at 315
West 116 Street, deponent received a text message from defendant which stated in
substance: | JUST TOOK. ALL THE VICADIN AND [BUPROFIN PILLS WANDA
GAVE ME AT ONCE. I HOPE 1 NEVER WAKE UP FROM THIS NIGHTMARE, and
deponent recognized the phone number which the text message came from to be the
defendant's phone number.

Deponent further states that on January 28, 2011, at about 2:39 hours, at 315 West
116 Street, deponent received a text message from defendant which stated in substance: |
AM GOING TO ENACT A REVENGE ON YOU LIKE HELL HAS YET TO EVER
SEE. YOU WILL TREMBLE AT MY FURY YOU WORTHLESS MAN-CUNT, and
deponent recognized the phone number which the text message came from to be the
defendant's phone number.

Deponent further states that on January 28, 2011 at about 10:44, at 315 West 116
Street, deponent received a text message from defendant which stated in substance:
SADIE JUST SEALED YOUR FATE. WHAT YOU DONT KNOW IS MY NEW MAN
1$ VERY POWERFUL RAHEEM. GOT COPS ON A STRING. YOU WILL BE VERY
SORRY FOR THIS, and deponent recognized the phone number which the text message
came from to be the defendant's phone number.
WO UL ADEA

Case 1:15-cv- -
5-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 27 of 52
Paiok tk Paya Ut
CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK

Page 4 of 4

THE PEOPLE OF THE STATE OF NEW YORK _ | FAMILY OFPENSE

-against- DEFENDANT/VICTIM
| RELATIONSHIP:
1. Kelly Price (F 40) al INTIMATE/ACCESS

Defend MISDEMEANOR
Defendant. ADA WELLS
212-335-4032

Deponent further states that on from about 7:30 hours until about 21:30 hours on
February 21, 2011, at 315 West 116 Street, deponent received forty-one (41) phone calls
from the defendant, and some of said calls were within one minute apart from one
another, and deponent answered some of said phone calls and deponent heard and
recognized defendant's voice when deponent answered said phone calls, and when
deponent answered said phone calls deponent stated in substance to defendant, STOP
CALLING MY PHONE.

Deponent further states that on from about 8:32 hours until about 15:02 hours on
February 22, 2011, at 315 West 116 Street, deponent received twenty-one (21) phone
calls from the defendant, and some of said calls were within one minute apart from one
another, and deponent answered some of said phone calls and deponent heard and
recognized defendant's voice when deponent answered said phone calls, and when
deponent answered said phone calls deponent stated in substance to defendant, STOP
CALLING MY PHONE.

Deponent is further states that defendant's above-described actions caused
informant to become alarmed and annoyed and feel harassed and afraid for deponent's
well-being.

False statements made herein are punishable as a class A misdemeanor pursuant to
section 210.45 of the penal law.
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Deponent Date and Time

ACT § Version 4.3.5 Created on 03/25/11 5:18 PM
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 28 of 52

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CRIMINAL COURT OF THE CITY OF NEW vor EknabIPY x 3

COUNTY OF NEW YORK

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THE PEOPLE OF THE STATE OF NEW YORK | FAMILY OFFENSE
-against- DEFENDANT/VICTIM
RELATIONSHIP:
1. Kelly Price (F 40) ECAB if INTIMATR/ACCESS

1208401

Defendant, | MISDEMEANOR
serendant, ADA WELLS
212-335-4032

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Deponent further states that on January 28, 2011, from about 00:14 hours until
about 11:55 hours, at 315 West 116 Street, deponent received five (5) additional text
messages from defendant, and deponent recognized the phone number of said text
messages to be the defendant's phone number.

Deponent states that on February 20, 2011, from about 8:57 hours u ntil about
16:05 hours, at 315 West 116 Street, deponent received twenty-two (22) phone calls from
the defendant, and some of said calls were within one minute apart from one another, and
deponent answered some of said phone calls and deponent heard and recognized
defendant's voice, and when deponent answered said phone calls deponent stated in
substance to defendant, STOP CALLING MY PHONE and one of the times when
deponent answered the phone deponent heard defendant state in substance: ] HAVE
YOUR LIFE IN MY HANDS AND I WILL GET YOU ARRESTED.

Deponent further states that on February 20, 2011, from about 17:22 hours until
about 17:44 hours, at 227) Frederick Douglas Boulevard, deponent received seven (7)
phone calls from the defendant, and all of said phone calls were made within the time
span of twenty-two (22) minutes.

Deponent further states that on February 20, 2011, from about 19:10 hours until
about 21:56 hours, at 315 West 116 Street, deponent received seven (7) phone calls from
the defendant, and some of said calls were within one minute apart from one another, and
deponent answered some of said phone calls and deponent heard and recognized
defendant's voice when deponent answered said phone calls, and when deponent
answered said phone calls deponent stated in substance to defendant, STOP CALLING
MY PHONE.
TT

Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 29 of 52

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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK

Page | of!

 

THE PEOPLE OF THE STATE OF NEW YORK FAMILY OFFENSE

-against- DEFENDANT/VICTIM
. RELATIONSHIP:
1. Kelly Price (F 40) woah INTIMATE/ACCESS
Tenant MISDEMEANOR
etendant. | ADA MARQUEZ

212-335-9522

 

Detective Samuel Fontanez, shield 00311 of the 028 Detective Squad, states as
follows:

On April 30, 2011, at about 60-0Mhours inside of 315 West 116th Street in the
County and State of New York, the Defendant committed the offenses of:

{. PL215.503) Criminal Contempt in the Second Degree
(1 count)

the defendant engaged in intentional disobedience to the lawful mandate of a court in
other than a labor dispute.

The offenses were committed under the following circumstances:

Deponent states that deponent is informed by Raheem Powell, of an address
known to the District Attomey's Office, that defendant called informant on the telephone
and stated in substance: ARE YOU RECORDING ME? I WANT TO TALK TO YOU
SO WE CAN WORK THINGS OUT. Deponent is further informed that informant has
known defendant for more than two years and informant recognized defendant's voice.

Deponent states (i) that the above actions by defendant are in violation of an order
of protection issued on March 24, 2011 by Judge Amaker , docket number
2011 N¥Y021627 , and which remains in effect until May 10, 2011 , (ii) that the order of
protection directs the defendant to refrain from communication or any other contact by
mail, telephone, e-mail, voicemail or other electronic means with Raheem Powell , and
(iii) that defendant is aware of the order of protection in that defendant was present in
court when the court order was issued and the order of protection is signed by the
defendant.

False statements made herein are punishable as a class A misdemeanor pursuant to
section 210.45 of the penal law.

_ Dox

Deponent

He BU slbli

Date and Time

 

 

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Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 30 of 52

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| Ral S (HD.
CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: PART D

 

THE PEOPLE OF THE STATE OF NEW YORK

-against- SUPPORTING DEPOSILION
C.P.L. § 100.20

KELLY PRICE,
Docket No. 2011 NY032918
Defendant.

 

I, Raheem Powell, of an address known to the District Attorney's Office, County of New

York County , State of New York, being duly sworn, depose and say:

that I have read the Accusatory Instrument filed in the above-entitled action and attached
hereto and that the facts therein stated to be on information furnished by me are true upon my

personal knowledge.

False statements made herein are punishable asa cass. Al
misdemeanor pursuant to section 210.45 of the penal law.

OZ /——

Signature (Deponent) Date

ahe Calls Me oroud dsr
ape oer —ont kak_ Meee YP
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 31 of 52

_ Pawo + Pea

SUPREME COURT OF THE STATE OF NEW YORK NO FEE
NEW YORK COUNTY
100 CENTRE STREET
NEW YORK, NY 10013

CERTIFICATE OF DISPOSITION DISMISSAL

 

DATE: 08/08/2012 CERTIFICATE OF DISPOSITION NUMBER; 293623
PEOPLE OF THE STATE OF NEW YORK CASE NUMBER: 20075-2011 |
vs. LOWER COURT NUMBER(S): 2011NY021627
DATE OF ARREST: 03/24/2011
ARREST #: M11625738
DATE OF BIRTH: 11/27/1970

PRICE, KELLY

 

DRFENDANT — 0 . 0 an
Tt HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS
ON FILE IN THIS OFFICE THAT ON 07/24/2012 THE ABOVE ACTION WAS
DISMISSED AND ALL PENDING CRIMINAL CHARGES RELATED TO

THIS ACTION WERE ALSO DISMISSED BY THE HONORABLE DAWSON, T THEN
A JUDGE OF THIS COURT.

THE DEFENDANT WAS DISCHARGED FROM THE JURISDICTION OF THE COURT.

THE ABOVE MENTIONED DISMISSAL IS A TERMINATION OF THE CRIMINAL
ACTION IN FAVOR OF THE ACCUSED AND PURSUANT TO SECTION 160.60 OF
THE CRIMINAL PROCEDURE LAW "THE ARREST AND PROSECUTION SHALL BE
DEEMED A NULLITY AND THE ACCUSED SHALL BE RESTORED, IN
CONTEMPLATION OF LAW, TO THE STATUS OCCUPIED BEFORE THE ARREST
AND PROSECUTION",

PURSUANT TO SECTION 160.50(1C) OF THE CRIMINAL PROCEDURE LAW, ALL
OFFICIAL RECORDS AND PAPERS RELATING TO THIS CASE ARE SEALED.

IN WITNESS WHEREOF,I HAVE HEREUNTO SET MY HAND AND AFFIXED MY
OFFICIAL SEAL ON THIS DATE 08/08/2012.

 
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 32 of 52

Bhi pp DE

SUPREME COURT OF THE STATE OF NEW YORK NO FEE
NEW YORK COUNTY
100 CENTRE STREET
NEW YORK, NY 10013

CERTIFICATE OF DISPOSITION DISMISSAL

 

DATE: 08/08/2012 CERTIFICATE OF DISPOSITION NUMBER: 29364
PEOPLE OF THE STATE OF NEW YORK CASE NUMBER: 20111-2011
vs. LOWER COURT NUMBER(S): 2011NY032918
DATE OF ARREST: 05/06/2011.
ARREST #: M11639652
DATE OF BIRTH: 11/27/1970

PRICE,KELLY C I

 

DEPENDANT

t HEREBY CERTIFY THAT IT APPEARS FROM AN EXAMINATION OF THE RECORDS
ON FILE IN THIS OFFICE THAT ON 07/24/2012 THE ABOVE ACTION WAS
DISMISSED AND ALL PENDING CRIMINAL CHARGES RELATED TO

THIS ACTION WERE ALSO DISMISSED BY THE HONORABLE DAWSON, 'T ‘THEN
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OFFICIAL SEAL ON THIS DATE 08/08/2012.

“Paso

COURT CHYERK ~

 
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12/20/10

9:32 PM

1/2 Chalupa u fucking with this dude: but you on my back about girls. trying to get me
locked up for no reason. When | get locked up I’m showing and telling

2/2 everything. And calling warren once | get locked up.

9:46 PM: | will turn your life upside down one I’m in Jail.

10:02 pm: Yea if you say so Hoe: Everybody is going to know

10:25 pm: so they will love all the great things | got to show them

10:31 pm: its your word against mine let's play | got pi and everything else. Daddy and
mommy and big bro will love my info. And | saw your speed dial u got two guys on
speed dial ur sad broke and a hoe. ur a loser

10:33 pm: warren rob warren rob warren rob they going to love me

12/21/10

6:37 am: lets have make up sex my dick is rock hard

(12/21 time unidentified sometime between 6:37 and 10:17 am)

[TEXT BENEATH NAKED PHOTO OF ME]

U see that window that’s your house. Just leave me alone please | don’t want to be with
someone that wants to get me locked up. Plus Hoeing

(12/21 time unidentified sometime between 6:37 and 10:17 am)

[TEXT BENEATH NAKED PHOTOs OF ME]

Two taps | can see every word even your number and | got more. Just leave me alone
and stop lying to the cops. I’m not going to fuck you intill | get lock up for no reason

10:17 am
| have Keys

10:19 am: U think I’m playing. Play with the cops and u will never hoe or work again
10:21 a.m: Your is too

10:25 a.m. thanks more for the cops when you get me locked up
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 34 of 52

10:28 Not when they see what | got and the people who will come downtown to help me
10:32 that paper will

12/22:

9:02 a.m.: Did you pay my car note

9:20 am: | was making a lot of money when | had my car. How u think | saved your ass
so many times. When u had no money. | would love it if u can pay my car note like you
said u would but if not we can go 310 310 = 620 or | can pay it by myself just the the
info. please | need that car on the streets. | don’t have to get nj plate it koool. | will wait
intill the weeks are up. ate the gym I’m taking a cab to my lot and going to the dmv to
take back my plates

RESPONSE 9:30 am: You ignore every holiday you spend hem with someone else
including my birthday | can’t wait till your car is gone

9:28 am: when they take my car I’m telling every thing that on niya
9:30 am: once that go u know what's going to happen

9:30 am RESPONSE: | am not talking to you until | get my phones and i’m warning you
stay away from the DMV u have no right to conduct my business

10:07 am: So get my car took of u want. Just know what’s happens after. no order can
stop me from talking.

RESPONSE: 10:10 am | hate you for ruining me but | will survive you been doing me
filthy for too long

10:16 am: Hell no tell me how? other way around. Ruining you how? Ur selfish an iu
fuck me with the cops or my car u will not survive because I’m going to really ruining u
like u keep trying to do to me. But I’m going to OVER DOSE ON YOU. So give me the
info or let’s go half or pay the note. but that car is not going no where.

10:22 am: | will never fuck you. But u fuck me so many times. So I’m not letting u get
away no more. You know right from wrong so u fuck me I’m going hard. Please | love
you so don’t make me do this
 

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FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK: COUNTY OF NEW YORK

aS ee re ee ee

In the Matter of a Family Offense °
Proceeding
KELLY CATHLEEN PRICE,

Petitioner,

-against- ql
RAHEEM POWELL,

Respondent,

Held: —~—«60 Lafayette Street

New York, N.¥. 10013
March 24, 2011 - Part $

Before: HONORABLE LORI S. SATTLER, JUDGE

Appearances:
EDWARD GREENBERG , ESQ.
Attorney for the Petitioner

WILLIAM O'HEARN, ESQ.

Attorney for the Respondent

Also Present:

Kelly Price
Raheem Powell

Kitty s.

DOCKET NO.
O-10874/10

Irizarry
Offielal Court Reporter

 
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Synbit B pL

Proceedings

1 COURT OFFICER: Six and fourteen in the matter of
2 Price and Powell.
3 Counsel, your appearance.
4 MR. GREENBERG: For the petitioner, Your Honor,
5 Edward C. Greenberg, 570 Lexington Avenue, New York, New
6 York.
7 Good morning.
8 COURT OFFICER: Raise your right hand.
9 (Whexeupon, the following parties were sworn in
10 by the court officer.)
11 MS. PRICE: Kelly Catherine Price.
12 MR. POWELL: Raheem Powell.
13 THE COURT: Good morning, Your Honor.
14 You are entitled to have an attorney in this
15 proceeding. If you don't have an attorney, I can assign one
16 to represent you. You can also decide you would like to go
17 forward on our own without an attorney, or if you would
18 like, you can hire or consult with an attorney that you
19 would pick.
20 Do you want an attorney in this proceeding?
21 MR. POWELL: Yes.
22 THE COURT: What’s your source of income at the
23 present time? Are you working?
24 MR. POWELL: Yes.

25 THE COURT: How much aré you earning?

 
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Brhlok fh Pry |

Proceedings

] MR. POWELL: Like $250 a week.
2 THE COURT: Are you a member of a union?
3 MR. POWELL: (No response)
4 (Whereupon, the following party was sworn in by
9 the court officer.)
6 DETECTIVE SIMMONS: Detective Linda Simmons,
7 shield number 2653 of the 28 Detective Squad.
8 THE COURT: Sorry to drag you in, Detective
9 Simmons, but I have a couple of questions, since I was
10 informed that you are here to arrest the petitioner.
il DETECTIVE SIMMONS: We are here to pick her up
12 for another detective that will be arresting her.
13 THE COURT: Anything related to my case here?
14 DETECTIVE SIMMONS: It's between the two of them.
15 It's between the two of them and how she calls him and
16 threatens to have him arrested if he doesn't come see her.
17 (Whereupon, Mr. O'Hearn entered the courtroom.)
18 THE COURT: Mr. O'Hearn is going to be
19 representing the respondent,
20 Do you want to note your appearance.
21 MR. O'HEARN: William O'Hearn, 225 Broadway,
22 appearing for the respondent.
23 THE COURT: Okay. So he had a family offense
24 case at some point in time, but your Order of Protection was

25 vacated when you didn't show up on March 9th.

 
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Proceedings

MR. POWELL: JI was on the wrong floor.

THE COURT: Did you file again?

MR. POWELL: Noa.

THE COURT: So are you picking her up for
violating the order?

DETECTIVE SIMMONS: She is going to be arrested
for aggravated harassment.

THE COURT: Okay, got you.

MR. GREENBERG: Your Honor, with respect to
Mr. Powell's claim that he was in the wrong room, I know
Your Honor is very busy and doesn't remember this case, but
this case --

THE COURT: No. I actually remember it.

MR. GREENBERG: Good. Then Your Honor will
remember that we delayed to call this case for quite some
time because Mr. Powell was not here, and Your Honor called
the case at 11:02.

THE COURT: Your client wasn't here either on
that date, as I recall.

MR. GREENBERG: That's correct, and I expressed
concern about the safety of my client. So while the court
officer called the case at about 9:32, Your Honor didn't
hear it until about 11:00. This was a 9:30 case, so I don’t

know how Mr. Powell couldn't have found his case within an

hour and a half.

 
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Proceedings

 

THE COURT: His case was dismissed. He paid the
consequence of not being here.

I think the bigger issue is your client is about
to get arrested. And I am hearing that right now, and
perhaps that makes me concerned about whether I actually
need to continue an Order of Protection in this case,
because he is not getting arrested, she is getting arrested.

Detectives investigated the stories?

DETECTIVE SIMMONS: Yes.

THE COURT: And don't find her story to be
exedible?

DETECTIVE SIMMONS: No,

MR. GREENBERG: We have a couple of competing
issues. Issue number one, and perhaps not the most
impertant, but I think it should be before Your Honor before
the case is discussed before you, no request was made of my
office to surrender Ms. Price, notwithstanding the fact that
I had lengthy conversations with detectives at the 28
Precinct, including Detective Flowers, who is, presumably,
going to be the detective arresting Ms. Price today.

I had a conversation with Mr. Flowers for over
five minutes, and at no time did he ask me to bring
Ms. Price in, nor had any request been made to me or to
Ms, Price' other attorney to bring her in. She would have

been brought in and this exercise, perhaps, would have been

 
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Proceedings

 

avoided or at least postponed, That's issue one, Your
Honor.

Number two, there was an Order of Protection
sought against Mr. Powell, whose acts of violence against
Ms. Price are well documented by hospital reports and so
forth. The detectives have come in here, and I understand
their responsibilities, as they see them, but they come in
here without any adjudication at all based on, solely, the
word of Mr. Powell, whom Your Honor has already awarded
Orders of Protection against, presumably, because Your Honor
was satisfied.

THE COURT: Excuse me,

An ex-parte Order of Protection -- Everyone comes
in here and does an ex-parte the first time, and I -- This
is the first time I have the parties in front of me.

MR. GREENBERG; That's true.

Not all ex-partes. Ms. Price had been here
before.

MR, O'HEARN: The most recent one was ex-parte
because he didn't show up, but that's not the initial one.
There was evidence that satisfied Your Honor to issue an
Order of Protection, apparently, where Mr. Powell was here
on prior occasions.

MR. GREENBERG; My recollection, Your Honor, is

when I was here three or four weeks ago, Your Honor stated

 
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Page 2 of the NYS Domestic Incident Report:
STATEMENT OF ALLEGATIONS / SUPPORTING DEPOSITION

Suspect Name (Last, First, M.1.)

 

 

 

 

 

 

 

 

 

 

 

 

 

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(Use additional pages as needed)

 

 

False Statements made herein are punishable as a Class A Misdemeanor, pursuant to section 210.45 of the Penal Law.
Declaraciones falsas hechas aqui son castigables como una clase de delito menor, de acuerdo con la seccion 210.45 de la

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Victim/Deponent Sis ots Date signed, this DIR

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Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 43 of 52

Marilyn Benetatos

231 West 120" Street
N.Y.N.Y. 10027

(212) 663-5372 (home)
(347) 203-2623 (cell)

To whom it may concern:

I was a neighbor of Kelly Price when she lived at 237 West 120" Street. Iam
a manager in Con Edison where I have worked for over 26 years. I have
approximately 70 employees in my chain of command. I lived on the street
for over 12 years, walk my dog every day and know and get along with my
neighbors.

In the spring and summer of 2011 and later in 2012, there were some
problems on the street related to young teenagers from other blocks hanging

out on 120" street vandalizing cars, the school yard, fighting in the streets
and being somewhat threatening to others. As a result, a group of us from the
block attended monthly meetings at the police station to make our issues
known there and to get further on-going support from the police and the
community officer. The police were very helpful, offered a lot of support and
worked with us and the principal at the local school and facilitated the
problem going away.

After the formal meeting, the head of the station, Captain Rodney Harrison,
invited attendees to speak with him personally about issues of concern. [
went up to him after one of these meetings and asked him why more was not
being done to help Kelly Price, who everyone knew was being battered. I
was concerned because the young teenagers seemed to be learning the wrong
thing from the situation. At that time, Captain Harrison told me that he had
never seen anything like it, but he/the police were told to not respond to Kelly
Price without the direct instruction of the District Attorney’s office. He said
it was strange but indicated that, to some extent, his hands were tied.

I found his response really surprising, so it stood out in my mind. I don’t
remember when or in what circumstances I came to be telling Kelly Price the
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 44 of 52

details of my interaction with Captain Harrison.
Please feel free to contact me, should I be able to assist you further.

Sincerely,
Case 1:15-cv-05871-KPF Document 2-1 Filed 07/24/15 Page 45 of 52

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FAMILY COURT OF THE STATE OF NEW YORK GF2 8/2002
COUNTY OF NEW YORK
In the Matter of a Family Offense Proceeding File #: 13289)
Docket #: O-10874-10

Kelly Cathleen Price,

Petitioner, SUMMONS

- against -

Raheem Powell,

Respondent.

 

IN THE NAME OF THE PEOPLE OF THE STATE OF NEW YORK:

To: Raheem Powell
315 West 116" Street #3B
New York, NY 10026

A petition under Article 8 of the Family Court Act having been filed with this Court, and annexed hereto
YOU ARE HEREBY SUMMONED to appear before this court on

Date/Time: = January 24, 2011 at 9:15 AM
Purpose: Return of Process
Part: 5
Floor/Room: Floor 8 South/Room PT 5
Presiding: Hon. Lori S, Sattler
Location: 60 Lafayette Street

New York, NY 10013

to answer the petition and to be dealt with in accordance with the Family Court Act.

On your failure to appear as herein directed, a warrant may be issued for your arrest.

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iL A
v/

Dated: November 22, 2010 Evelyn Hasanoeddin, Clerk of Court

NOTICE: Family Court §154(c) provides that petitions brought pursuant to Article 4, 5, 6, 8 and 10 of the
Family Court Act, in which an order of protection is sought or in which a violation of an order of protection
is alleged, may be served outside the State of New York upon a Respondent who is not a resident or
domiciliary of the State of New York. If no other grounds for obtaining personal jurisdiction over the
Respondent exist aside from the application of this provision, the exercise of personal jurisdiction over the
respondent is limited to the issue of the request for, or alleged violation of, the order of protection. Where
the Respondent has been served with this summons and petition does not appear, the Family Court may
proceed to a hearing with respect to issuance or enforcement of the order of protection.
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April 22, 2014
Elizabeth Walker

235 West 120" street
Apt 2

New York, NY 10027
(917) 575 9600 (cell)

To Whom It May Concern:

| was one of Kelly Price's neighbors when she lived at 237 west 420th Street. | have
lived at 235 west 120th Street for five years. | am an attorney and have been a member
of the New York State Bar for over seven years.

During the course of our relationship as neighbors Kelly shared with me the trouble she
was having obtaining police assistance from members of the 28th Precinct on multiple
occasions when she had been attacked by people in our neighborhood, including her ex
intimate partner, Raheem Powell. | did not witness the events or attacks Price described
to me, but she would cry on my shoulder whenever was assaulted, often by women
whom Kelly believed were associated with her ex, his alleged drug dealing associates,
or childhood cronies. Kelly was particularly dismayed that the police refused to take her
reports, follow up on assaults against her person, or regard her as a member of society
needing protection in general. She told me that officers in the precinct told her that the
district attorney's office had instructed them not to assist her. Candidly, | did not entirely
believe that the police would refuse Kelly, and | suspected that it was likely she was
omitting some dispositive reason why the police were reluctant to intervene on her
behalf against her various alleged attackers.

On the evening of October 17, 2012, Kelly called me crying and asking for my help. |
observed her distraught and injured after being assaulted in broad daylight on the
corner of our block, at 120th Street and St. Nicholas Avenue, while she was en route to
her home from the 125th Street subway at approximately 5:30 p.m. | observed that she
was disheveled, her stockings were torn, and her knees and hands were bruised and
bloodied. Kelly was nearly hysterical and | had to calm her down and give her medical
assistance. Kelly related that a purported heroin dealer named Willy who was known to
many residents in the neighborhood (he operated his business from a visible stoop on
Saint Nicholas Avenue) had "jumped" her and hit her in the face, spit at her and pushed
her onto the sidewalk while screaming insults at her. ! do not recall what Kelly had said
to him before or after the attack, but | do recall that she did not provoke or retaliate
against him physically. | took pictures of Kelly and her wounds, and encouraged her to
call 911 for assistance in reporting the crime. Kelly stated that she already had called
the 28th Precinct and that a patrol car had been sent to the scene of the assault. Kelly
said that when the officers arrived they refused to take her report and called her crazy.
Kelly also stated that she had then walked to the precinct a block or so away for help
and been rebuffed by the desk sergeant who Kelly said ridiculed and mocked her.
Notwithstanding her story that she had sought police intervention earlier that day, |
insisted that she call 911 again and report the chain of events. She complied.
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Eventually another patrol car with Officers from the 28th precinct arrived in front of the
brownstone we lived in. Two police officers, whom Kelly has since reminded me were
named PO Longo (shield # 31565) and PO Walker, related to us that they were
instructed by the station's Desk Sergeant not to take Kelly's reports. PO Walker stated
that the District Attorney’s office had instructed the precinct not to respond to any of
Kelly's calls. | recall being genuinely shocked and outraged to hear this instruction, and
further surprised that a young woman, like PO Walker, would be tasked by her superiors
with being complicit in such a scheme that leaves domestic violence victims without
recourse for protection. At this juncture, | introduced myself as an officer of the court
and member of the NY State Bar, and pressed the officers by reminding them of their
legal and ethical responsibilities to provide complainants with police services. ! recall
that the officers responded more favorably to me than they did to Kelly, but | could not
discern whether this was the case because | notified them that | am an attorney, or
because |'m just someone other than Kelly Price. PO Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event that it most likely would be circular-filed in the trash bin. PO Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. | was then, and remain dumbfounded by what | witnessed
transpire that evening.

As a single young woman living and working in NYC, it unsettled me that the police
could be so cavalier about the safety of Kelly Price. Kelly has since told me that the
complaint number she was given months later when she inquired as to why no one had
ever followed up with her about the incident was 2012-28-005194. Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her to identify the perpetrator of the attack or review the emergency room
reports or follow-on orthopedic assessments describing Price’s injuries resulting from
the attack.

Please feel free to contact me with any questions.
Sincerely,

Elizabeth Walker
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DISTRICT ATTORNEY
OF THE
COUNTY OF NEW YORK
ONE HOGAN PLAGE
New York, N.Y, #0013
(242) 335-9000

 

CYRUS R. VANCE, JR.

DISTRICT. ATTORNEY

July 16, 2014

Kelly Price
534 W. 187" Street #7
New York, New York 10033

VIA ELECTRONIC AND REGULAR MAIL

Re: LL. A |
Dear Ms. Price:

The New York County District Attorney’s Office received your Freedom of Information
Law (F.O.1.L,) appeal, As the F.O.LL. Appeals Officer, I have reviewed our file and am prepared
to rulé on this matter.

You appeal the determination made by Assistant District Attorney Christina Maloney, the
Records Access Officer assigned to your request, The substance of the argument in your appeal is
that documents from the case files are not exempt under to F.O.1.L. because there is no pending
judicial proceeding, Although ADA Maloney was correct in her assessment that you have a
pending matter related to the requested cases, it is civil in nature and its disposition will have no
effect on the closed criminal cases you request access to.

As such, I am remanding your original request back té ADA Maloney sq that she may
imake 2 de novo determination. The case files will need to be ordered before she can make a
determination on your request, so allow until August 16, 2014 for her determination or update.

In accordarice with the above discussion, your appeal is dismissed at this time.

Sincerely,

pasion Ok, Re

Susan C. Roque
Assistant District Attorney
Special Litigation Bureau

ce: Committee on Open Government
Department of State
41 State Street
Albany, New York 12231

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Wal U h

VIA Hand Delivery AND
Electronic MAIL

July 9, 2014

Patricia Bailey

FOIA Appeals Officer

Manhattan District Attorney’s Office
City of New York

One Hogan Place

New York, NY 10013

cc. ADA Christina Maloney, DA Cyrus Vance Jr.

Ref: Appeal of FOIA Request Denial

Dear Ms. Bailey

On June 26, 2014, I filed a Freedom of Information Act (FOIA) request with the MDAO,
requesting all correspondence, memoranda, documents, reports, records, statements, audits, lists
of names, applications, diskettes, letters, expense logs and receipts, calendar or diary logs,
facsimile logs, telephone records, call sheets, tape/audio recordings, video/movie recordings,
notes, examinations, database entries, opinions, folders, files, books, manuals, pamphlets, forms,
drawings, charts, photographs, electronic mail, and other documents and things that refer of
relate to myself, Kelly Price, DOB 11/27/70 ssn 521 55 0356, any and all criminal investigations,
investigatory materials and surveillance logs as well as all audio and video materials in which
my name, voice or image is seen, heard or invoked involving any other persons or entities
within twenty (20) business days. In a response letter dated July 3, 2014, ADA Christina
Maloney denied my request citing that:

“You have filed a lawsuit in New York State Supreme Court (Kelly Price v. the City of New
York, et, Al. Index No. 101414/2013). Your request for documents regarding the underlying
criminal cases is denied, as disclosure would interfere with the pending judicial proceeding.
Public Officers Law § 87(2)(e)((D.”

This letter respectfully appeals the determination of Ms. Maloney. The information
requested under FOIA must be disclosed because the “Judicial Proceeding” exemption of the
FOIA does not apply as the underlying criminal case(s) has/have been dismissed and/or resolved.
The FOIA exemption cited by Maloney [NY State Public Officers Law § 87(2)(e)(()] provides
protections for information complied for law enforcement purposes and stems from FOIA 5
U.S.C. §552 (b)(7). The intention behind this exemption is to allow agencies to withhold law
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enforcement documents in order fo prevent interference with the enforcement process.
According to FOIA 5 U.S.C. §552 (b)(7):

Exemption 7 has six sub exemptions and Exemption 7A protects information because of a
‘Judicial Proceeding’ that could interfere with law enforcement proceedings, thus protecting
ACTIVE investigations. This exemption is applicable only if an investigation is pending or
planned and the release of the information will compromise the investigation.

In the matter of Castle House Dev. Inc. v. The City of New York Justice Schlesinger
states in regard to the NYPD’s denial of petitioner’s FOIA request by citing the same NY Public
Officer Law [§ 87(2) (e) ((D] that: “As far as what was known then and now, there was no
continuing law enforcement proceeding extant and the only known Judicial Proceeding was the
aforementioned tort action in King’s County.” Justice Schlesinger goes on to explain how a civil
action is not the same as a criminal action in seeking to use its existence as a remedy against
disclosing information sought on a FOIA request by labeling the civil action as a criminal one;
“This exemption is not a viable one in circumstances such as this, a pending civil action.” (Castle
House Development Inc. v City of New York Police Dept. 2009 NY Slip OP 51553 (U) [24
MISC 3d 1222 (A)] Justice A Schlesinger 7/10/2009. SUPREME COURT NY COUNTY.

In Maloney’s Motion to Dismiss filed with NY Supreme Court on April 10, 2014 she
states that “The facts below are gleaned from the records of the DA’s Office and recitations
made by plaintiff; however, much of the plaintiff's record is sealed...” Maloney herself admits
in this statement that my record is sealed and thus NOT AN ACTIVE INVESTIGATION and
thus not subject to the “Judicial Proceedings” exemption as she has wrongly and unlawfully
asserted. Additionally in order to successfully assert the “Judicial Proceedings” exemption for a
FOIA request that Agency or Actor asserting the denial must state how the release of the
information will compromise said investigation. Maloney has made no attempt to show in what
way granting my FOIA request would interfere with the civil tort action I have brought vs.
individuals in the MDAO, the NYPD and the City of New York.

Justice Schlesinger goes on to further review and discuss how Judge Kaye of the
Appellant court made it clear in the opening lines of her unanimous Appellant court finding that
in the case of M. Farbman & Sons v. New York City Health and Hospitals Corp et al., 62 NY2d
78 (1984): “Access to records of a government agency under the Freedom of Information
Law...is not affected by the fact that there is pending a litigation between the person making the
request and the agency.” Schlesinger further cites this Court of Appeals decision that: “an
agency’s public records remain as available to its litigation adversary as to any other person...In
the absence of indication from the Legislature, we refuse to read into FOIL the restriction that,
once litigation commences, a party forfeits the rights available to all other members of the
public.”
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Finally regarding the provisions of the FOIA statute and of particular note:

Il; If any responsive record or portion thereof is claimed to be exempt from production
under FOIA, sufficient identifying information (with respect to each allegedly exempt
record or portion thereof) must be provided to allow the assessment of the propriety
of the claimed exemption. Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir 1973), cert
denied, 415 U.S. 977 (1974). Additionally any reasonably segregable portion of a
responsive record must be provided after redaction of any allegedly exempt material
to me, as the law requires. 5 U.S.C. § 552(b).

Il. Ms. Maloney has issued an adverse FOIA records determination in response to my
request and as such she was required to (1) notify the requester of the right to appeal;
(2) identify the appeals officer and the officer’s contact information; and (3) state the
date when the appeal letter must be received by the officer and; (4) address my
request for all fees to be waived. As Maloney failed to satisfy the requirements of the
first, third and fourth FOJA stipulations I have the right to initiate court action
immediately. Please do respond to this FOIA APPEAL in a timely fashion (within
twenty days of receipt of this letter.)

Ill. In order to help to determine my status for purposes of determining the applicability
of any fees, you should know that I am willing to pay fees up to the amount of
$250.00 USD which is a considerable hardship but an attainable one for me. If the
fees will exceed this amount, please inform me before fees are incurred. I can be
contacted via email or telephone if necessary to discuss any aspect of this request.

In conclusion: it pains me greatly as a fourth-generation daughter of the City of New
York to witness the widespread malpractice and disregard for the letter of the laws of our country
that I have been confronted with at every turn in my interactions with the MDAO since
approaching them for assistance in extracting myself from a life-threatening intimate-partner
situation. My family members have fought in wars, I myself have been on the frontlines of
attacks on our nation, and have lost many friends and colleagues who have died in the name of
these same laws that are disregarded, willfully misinterpreted and misappropriated to justify
unlawful actions by the members of the MDAO. Please Ms. Bailey: let this epidemic that has
swept the masses of young, mewling ingénues stocking the brigades of the MDAO stop with
you.

Sincerely,

Kelly Price

534 w 187 st #7

New York NY 10033

Signed as per the 2000 Electronic Signature Act
